Case 8:18-cr-00110-VMC-CPT Document 196 Filed 04/23/19 Page 1 of 2 PageID 645




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                                  Case No. 8:18-cr-110-T-33CPT

   TRAVELL KINKAY JONES
   ______________________________/


                        REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY

          The Defendant, by consent, appeared before me pursuant to Fed. R. Crim. P.

   11 and Local Rule 6.01(c)(12), and pleaded guilty to Count One of the Indictment.

   After examining the Defendant as required by Rule 11, I have determined that the

   Defendant’s guilty plea is knowing, voluntary, and supported by an independent

   factual basis. I therefore recommend that the Defendant’s guilty plea be accepted,

   that the Defendant be adjudged guilty, and that the Defendant’s sentence be imposed

   accordingly.

          IT IS SO REPORTED AND RECOMMENDED in Tampa, Florida, this

   23rd day of April 2019.
Case 8:18-cr-00110-VMC-CPT Document 196 Filed 04/23/19 Page 2 of 2 PageID 646




                                         NOTICE

          A party has fourteen (14) days from this date to file written objections to the

   Report and Recommendation’s factual findings and legal conclusions. A party’s

   failure to file written objections waives that party’s right to challenge on appeal any

   unobjected-to factual finding or legal conclusion the District Judge adopts from the

   Report and Recommendation. See 11th Cir. R. 3-1.




                                             2
